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                      EXHIBIT 2
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ERO Custody Management Division
Facility List Notes
Monday, July 10, 2017
Notes and Assumptions:
The Facility List contains all facilities used by ICE ERO recorded in ENFORCE since the start of FY2003.
The Facility List Main tab is sorted descending by the current Fiscal Year Average Daily Population (ADP).
Facility inspection ratings referenced are all Final Ratings. New facilities with reviews in process will not have entries in the Authorized field.
When the facility type is unavailable, IGSA is used as the default value for type and type-detailed until the facility type can be confirmed

Field Names, Data Sources, and Definitions:
Field Name                                                               Data Source                              Definition
Facility Information
DETLOC                                                                   IIDS (Hyperion)                          The detention facility code that serves as the unique identifier for each facility
NAME                                                                     IIDS (Hyperion)/Officer/Field Input      The complete name of the detention facility
ADDRESS                                                                  Officer/Field Input/ Research            The street address of the detention facility
CITY                                                                     IIDS (Hyperion)                          The city where the facility is located
COUNTY                                                                   Officer/Field Input/ Research            The county where the facility is located
ST                                                                       IIDS (Hyperion)                          The state where the facility is located
ZIP                                                                      Calculation                              The zip code where the facility is located
TYPE                                                                     Officer/Field Input                      See Facility Type Tab
TYPE - DETAILED                                                          Officer/Field Input                      See Facility Type Tab
                                                                                                                  Indicates the genders of detainees detained at the facility. Gender is determined using the current fiscal year ADP. M indicates
Male/Female                                                              IIDS (Hyperion)
                                                                                                                  male population and F indicates female population. Where limited data is available, the default value is M,F.
                                                                                                                  Indicates the detainee classification levels of detainees at the facility. Detainee classification level is determined using the current
Levels A,B,C,D                                                           IIDS (Hyperion)                          fiscal year data. Detainee Classification Levels: Level A includes A and 1, Level B includes B and 2, Level C includes C, and Level
                                                                                                                  D includes D and 3. Where limited data is available, the default value is A,B,C,D
Capacity
Capacity                                                                 Officer/Field Input                      The estimated bed space available for use by ICE at the facility, which may be less than the total bed space capacity at the facility
Population
                                                                                                                  Population Count is based on the midnight count mandays for a facility on the most recent date available when the data was
Population Count                                                         IIDS (Hyperion)                          extracted. The sum of midnight count mandays for a given facility represents the total number of detainees in a detention facility at
                                                                                                                  midnight on the given date
Statistics
                                                                                                                  The Average Daily Population (ADP) is the average midnight count mandays, at a particular facility, over a specified time frame. A
ADP - Midnight Count Mandays                                             IIDS (Hyperion)                          midnight count manday quantifies the number of detainees in the specified detention facility at midnight. ADP is calculated by
                                                                                                                  taking the number of midnight count mandays for a given time period and dividing by the number of days in that time period.
Contract
Facility Operator                                                        Officer/Field/OAQ Input                  Indicates the Operator of the facility. Examples include GEO, MVM, and CCA
Facility Owner                                                           Officer/Field/OAQ Input                  Indicates the Owner of the facility
Best Known Contract Initiation Date                                      OAQ                                      The best known date of the contract initiation
Best Known Contract Expiration Date                                      OAQ                                      The best known date of the contract expiration
Per Diem Rate Detailed                                                   OAQ                                      The per diem rate of the facility
Standards Compliance Information
                                                                                                                  Indicates Program responsible for monitoring the facility. Facilities that are used irregularly and infrequently do not require
Authorization Authority                                                  Officer/Field Input
                                                                                                                  inspections.
Over/Under 72                                                            Officer/Field Input                      Indicates whether a facility is designated as over or under 72 hours
Last Inspection Type                                                     Officer/Field Input                      Indicates the last type of inspection - Regular, ORSA, N/A
Last Inspection Standard                                                 Officer/Field Input                      Indicates the Inspection Standard by which the facility was last inspected under - NDS, PBNDS 2008, PBNDS 2011, N/A
Last Rating - Final                                                      Officer/Field Input                      The most recent finalized rating a facility has received
Last Inspection Date                                                     Officer/Field Input                      The date of the last facility review
                                                                                                                  The last rating received in CY 2017. When available finalized ratings are used; when finalized ratings are not present a
CY17 Rating                                                              Officer/Field Input
                                                                                                                  recommended rating will be displayed


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CY16 Rating                     Officer/Field Input         The last rating received in CY 2016.
                                                            The last rating received in CY 2015. When available finalized ratings are used; when finalized ratings are not present a
CY15 Rating                     Officer/Field Input
                                                            recommended rating will be displayed
CY14 Rating                     Officer/Field Input         The last rating received in CY 2014.
CY13 Rating                     Officer/Field Input         The last rating received in CY 2013
CY12 Rating                     Officer/Field Input         The last rating received in CY 2012
CY11 Rating                     Officer/Field Input         The last rating received in CY 2011
CY10 Rating                     Officer/Field Input         The last rating received in CY 2010
DSM Assigned                    Detention Monitoring Unit   Indicates if a facility is monitored for compliance with ICE detention standards




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ERO Custody Management Division
Authorized DMCP Facility List
FY2017 data: IIDS as of 07/10/2017; EID data through 07/08/2017
FY2016 data: IIDS as of 10/03/2016; EID data through 10/01/2016. FY2015 data: IIDS as of 10/5/15; EID data through 10/2/15. FY2014 data: IIDS as of 10/6/14; EID data through 10/3/14. FY2013 data: IIDS as of 10/6/13; EID data through 10/4/13.  FY2012 data: IIDS as of 10/8/12; EID data through 10/5/12.  FY2011 data: IIDS as of 10/7/11; EID data through 10/5/11.  FY2004‐10 data: IIDS as of 10/05/10; EID data through 09/30/10.  

                                                                                                                                                                                                                                                                                                              Capacity           Population
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Best Known          Best Known                                                                                                                       Last         Last                                     Last
                                                                                                                                                                                                                                                  Type                                       Levels                              Population             FY17         FY16         FY15         FY14         FY13         FY12         FY11         FY10                              Facility   Contract Initiation Contract Expiration                                                                                Authorizing                   Inspection   Inspection   Last Inspection             Inspection                                                                                                                                                                               DSM
DETLOC            Name                                                                     Address                                               City                          County                      State         Zip        Type          Detailed          Male/Female              A,B,C,D          Capacity           Count                  ADP          ADP          ADP          ADP          ADP          ADP          ADP          ADP        Facility Operator      Owner      Date                Date                Per Diem Rate Detailed                                                         Authority     Over/Under 72   Type         Standard     Rating - Final              Date              CY16 Rating              CY15 RATING               CY14 RATING               CY13 RATING               CY12 RATING               CY11 RATING         CY10 RATING       Assigned?
STWRTGA           STEWART DETENTION CENTER                        146 CCA ROAD                                                                   LUMPKIN                       STEWART                     GA               31815   IGSA          DIGSA             Male                    A, B, C, D                1,966                     1,906        1,876        1,369        1,374        1,619        1,560        1,677        1,655      1,614   CCA                    COUNTY                6/30/2006           7/31/2017 1600 (GM); $62.49 (1-1600); $61.85 (1601-1750); $40.00 (1751-1966)               DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                     5/4/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
ADLNTCA           ADELANTO ICE PROCESSING CENTER                  10250 RANCHO ROAD                                                              ADELANTO                      SAN BERNARDINO              CA               92301   IGSA          DIGSA             Female/Male             A, B, C, D                1,940                     1,496        1,745        1,472        1,180        1,209        1,081          587           19          0   GEO                    CITY                   6/1/2011           5/31/2021 1455 (GM); $112.76 (1-1455), $43.40 (1456-1940)                                  DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                    10/7/2016   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard                       Yes
STCDFTX           SOUTH TEXAS DETENTION COMPLEX                   566 VETERANS DRIVE                                                             PEARSALL                      FRIO                        TX               78061   CDF           CDF               Female/Male             A, B, C, D                1,890                     1,539        1,629        1,728        1,547        1,722        1,769        1,722        1,607      1,527   GEO                    GEO                   1/30/2004          11/30/2017 1350 (GM); $98.47 (1-1,350), $9.88 (1,351+)                                      DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                    3/30/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Superior         No
CSCNWWA           NORTHWEST DETENTION CENTER                      1623 E. J STREET                                                               TACOMA                        PIERCE                      WA               98421   CDF           CDF               Female/Male             A, B, C, D                1,575                     1,327        1,432        1,411        1,132        1,400        1,333        1,313        1,167      1,105   GEO                    GEO                   9/28/2015           9/27/2025 1181 (GM); $117.89 (1-1181), $47.84 (1182-1575)                                  DMCP       Over 72         Regular      PBNDS 2011   Pending                           4/20/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
EAZ               ELOY FEDERAL CONTRACT FACILITY                  1705 EAST HANNA RD.                                                            ELOY                          PINAL                       AZ               85131   IGSA          DIGSA             Female/Male             A, B, C, D                1,550                     1,371        1,383        1,433        1,401        1,483        1,478        1,491        1,486      1,487   CCA                    CITY                  2/17/2006                     $69.97                                                                           DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                     2/2/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Superior         Yes
JENADLA           JENA/LASALLE DETENTION FACILITY                 830 PINEHILL ROAD                                                              JENA                          LA SALLE                    LA               71342   IGSA          DIGSA             Female/Male             A, B, C, D                1,160                       998        1,114        1,105        1,047        1,033          980          910          994        831   GEO                    COUNTY                7/24/2007          10/31/2018 1170 (GM for JENADLA and JENATLA combined); $76.64 (1 – 1170), $28.38 (1171 - DMCP          Over 72         Regular      PBNDS 2011   Meets Standard                    9/15/2016   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
PIC               PORT ISABEL                                     27991 BUENA VISTA BOULEVARD                                                    LOS FRESNOS                   CAMERON                     TX               78566   SPC           SPC               Female/Male             A, B, C, D                1,175                       709        1,030        1,104        1,008          992        1,087        1,133          913        719   AHTNA (GUARD)          ICE                   7/10/2008           5/31/2022 800 (GM); $132.97 (1-800), $0.00 (801-1175)                                      DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                     2/2/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
CCASDCA           OTAY MESA DETENTION CENTER (SAN DIEGO CDF)      7488 CALZADA DE LA FUENTE                                                      SAN DIEGO                     SAN DIEGO                   CA               92154   CDF           USMS CDF          Female/Male             A, B, C, D                  896                     1,061        1,027          835          635          664          653          665          671        667   CCA                    OFDT                   7/1/2005           6/30/2023 600 (GM); $2,679,681.96 Flat Monthly Rate (1-600), $138.29 (601+)                DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                    1/26/2017   Meets Standard            Special Review - Pre-OccupMeets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
HOUICDF           HOUSTON CONTRACT DETENTION FACILITY             15850 EXPORT PLAZA DRIVE                                                       HOUSTON                       HARRIS                      TX               77032   CDF           CDF               Female/Male             A, B, C, D                1,000                       932          961          916          860          942          898          894          890        866   CCA                    CCA                    4/1/2009                     750 (GM); $109.24 (1-750), $109.24 (750-900), $40.00 (901-1,000)                 DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                    1/12/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
MONTGTX           JOE CORLEY DETENTION FACILITY                   500 HILBIG RD.                                                                 CONROE                        MONTGOMERY                  TX               77301   IGSA          IGSA              Female/Male             A, B, C, D                1,050                       683          866          894          675          958          839          473          350        369   GEO                    COUNTY                7/31/2008                     $67.07                                                                           DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                   11/17/2016   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
CCAFLAZ           CCA, FLORENCE CORRECTIONAL CENTER               1100 BOWLING ROAD                                                              FLORENCE                      PINAL                       AZ               85132   USMS IGA      USMS IGA          Male                    A, B, C, D                  806                       580          806          712          358          315          234          205          197        210   CCA                    CCA                   10/1/2008           9/30/2029 $105.17                                                                          DMCP       Over 72         Regular      PBNDS 2008   Meets Standard                    8/25/2016   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
OTRPCNM           OTERO COUNTY PROCESSING CENTER                  26 MCGREGOR RANGE ROAD                                                         CHAPARRAL                     DONA ANA                    NM               88081   IGSA          DIGSA             Male                    A, B, C, D                1,000                       533          774          844          826          845          827          741          817        869   M&TC                   COUNTY                2/28/2014           2/28/2019 $96.46 (1-850), $18.72 (851-1000)                                                DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                     3/2/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Acceptable          Superior         Yes
EPC               EL PASO SERVICE PROCESSING CENTER               8915 MONTANA AVE.                                                              EL PASO                       EL PASO                     TX               79925   SPC           SPC               Female/Male             A, B, C, D                  840                       772          767          819          706          717          772          623          726        794   GPS-ASSET              ICE                   9/30/2015           9/29/2022 600 (GM); $2,324,160.93 Flat Monthly Fee (1-650), $0.00 (651+)                   DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                   12/15/2016   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
DENICDF           DENVER CONTRACT DETENTION FACILITY              3130 N. OAKLAND ST.                                                            AURORA                        ARAPAHOE                    CO               80010   CDF           CDF               Female/Male             A, B, C, D                  928                       527          759          477          395          417          412          400          415        414   GEO                    GEO                   10/1/2006           9/15/2021 350 (GM); $146.06 (1-350), $21.16 (351-525). Temporary Additional Beds; $555,296 DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                    9/29/2016   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
PINEPLA           PINE PRAIRIE CORRECTIONAL CENTER                1133 HAMPTON DUPRE ROAD                                                        PINE PRAIRIE                  EVANGELINE                  LA               70576   IGSA          DIGSA             Male                    A, B, C, D                  700                       539          717          479            0            0            0            0            0          0   GEO                    COUNTY                1/16/1997                     $58.02                                                                           DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                    4/27/2017   Meets Standard            Special Review - Pre-Occupancy                      Special Review - Pre-Occupancy                                                           Yes
FRMVLVA           IMMIGRATION CENTERS OF AMERICA FARMVILLE        508 WATERWORKS ROAD                                                            FARMVILLE                     PRINCE EDWARD               VA               23901   IGSA          DIGSA             Male                    A, B, C, D                  851                       663          714          579          549          531          509          390          345         10   ICA                    COUNTY                9/15/2008           9/15/2018 500 (GM); $125.39 (1-500), $43.69 (501-648), $64.74 (649-851)                    DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                    3/16/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Does Not Meet StandaMeets Standard   Yes
YORCOPA           YORK COUNTY PRISON                              3400 CONCORD ROAD                                                              YORK                          YORK                        PA               17402   IGSA          IGSA              Female/Male             A, B, C, D                  800                       599          706          671          640          730          761          775          824        757   COUNTY (SHERIFF)       COUNTY                4/23/2003                     $83.00                                                                           DMCP       Over 72         Regular      PBNDS 2008   Meets Standard                   10/14/2016   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Acceptable          Superior         Yes
IRWINGA           IRWIN COUNTY DETENTION CENTER                   132 COTTON DRIVE                                                               OCILLA                        IRWIN                       GA               31772   USMS IGA      USMS IGA          Female/Male             A, B, C, D                  512                       804          693          546          345          418          357          337          204          0   LASALLE CORRECTIONS    COUNTY                 9/6/2007                     $60.50                                                                           DMCP       Over 72         Regular      PBNDS 2008   Pending                           6/22/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
POLKCTX           POLK COUNTY ADULT DETENTION FACILITY            3400 FM 350 SOUTH                                                              LIVINGSTON                    POLK                        TX               77351   IGSA          IGSA              Male                    A, B, C, D                1,054                       114          685          563          289          594          513          774          734        836   M&TC                   COUNTY                7/25/2007                     $68.88                                                                           DMCP       Over 72         Regular      NDS          Acceptable                         1/6/2017   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         Yes
ESSEXNJ           ESSEX COUNTY CORRECTIONAL FACILITY              354 DOREMUS AVENUE                                                             NEWARK                        ESSEX                       NJ               07105   IGSA          IGSA              Male                    A, B, C, D                  800                       569          679          539          410          550          548          582          510        395   COUNTY (CORRECTIONS)   COUNTY                8/11/2011           8/10/2026 $117.00                                                                          DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                    9/15/2016   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Acceptable          Superior         Yes
IRADFCA           IMPERIAL REGIONAL DETENTION FACILITY            1572 GATEWAY                                                                   CALEXICO                      IMPERIAL                    CA               92231   IGSA          DIGSA             Female/Male             A, B, C, D                  704                       654          663          681          665            4            0            0            0          0   M&TC                   CITY                  9/22/2014           9/21/2019 640 (GM); $142.43 (1-640), $96.43 (641+)                                         DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                    1/26/2017   Meets Standard            Meets Standard            Special Review - Pre-Occupancy                                                                                     Yes
WCCPBFL           BROWARD TRANSITIONAL CENTER                     3900 NORTH POWERLINE ROAD                                                      POMPANO BEACH                 BROWARD                     FL               33073   CDF           CDF               Female/Male             A, B                        700                       668          653          618          405          598          555          638          629        580   GEO                    GEO                    7/1/2015          12/31/2021 $1,918,728.43 (flat fee); + $7.30 per diem                                       DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                   10/27/2016   Meets Standard            Meets Standard            Meets Standard            Pending                   Meets Standard            Meets Standard      Meets Standard   Yes
HUDSONJ           HUDSON COUNTY CORRECTIONAL CENTER               30-35 HACKENSACK AVE.                                                          KEARNY                        HUDSON                      NJ               07032   USMS IGA      USMS IGA          Female/Male             A, B, C, D                  476                       571          646          491          455          474          430          423          434        362   COUNTY (CORRECTIONS)   COUNTY                4/15/1996                     $110.00                                                                          DMCP       Over 72         Regular      PBNDS 2008   Meets Standard                    1/12/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Acceptable          Superior         Yes
KRO               KROME NORTH SERVICE PROCESSING CENTER           18201 SOUTHWEST 12TH STREET                                                    MIAMI                         MIAMI-DADE                  FL               33194   SPC           SPC               Male                    A, B, C, D                  611                       558          589          558          452          519          568          578          607        531   AGS                    ICE                    5/1/2014           4/30/2024 450 (GM); $154.60 (1-450), $59.39 (451+)                                         DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                     4/6/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
BTV               BUFFALO (BATAVIA) SERVICE PROCESSING CENTER     4250 FEDERAL DRIVE                                                             BATAVIA                       GENESEE                     NY               14020   SPC           SPC               Male                    A, B, C, D                  650                       566          569          540          424          493          411          444          529        498   AGS                    ICE                   12/1/2014           1/31/2025 400 (GM); $126.55 (1-400), $17.73 (401-650)                                      DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                     3/9/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
RGRNDTX           RIO GRANDE DETENTION CENTER                     1001 SAN RIO BOULEVARD                                                         LAREDO                        WEBB                        TX               78046   USMS IGA      USMS IGA          Male                    A, B, C, D                  672                       500          511          476          444          386            0            0            0          0   GEO                    GEO                    1/1/2014           9/30/2028 275 (GM); $27.00 (1-275), $27.00 (276-672)                                       DMCP       Over 72         Regular      PBNDS 2008   Pending                           3/16/2017   Meets Standard            Meets Standard            Meets Standard            Special Review - Pre-Occupancy                                                           No
TLACYCA           THEO LACY FACILITY                              501 THE CITY DRIVE SOUTH                                                       ORANGE                        ORANGE                      CA               92868   IGSA          IGSA              Male                    A, B, C, D                  472                       497          481          448          271          361          398          446          467          0   COUNTY (SHERIFF)       COUNTY                7/20/2010           7/19/2020 $118.00                                                                          DMCP       Over 72         Regular      PBNDS 2008   Meets Standard                   10/27/2016   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Not Rated                            Yes
CACFMES           MESA VERDE DETENTION FACILITY                   425 GOLDEN STATE AVE                                                           BAKERSFIELD                   KERN                        CA               93301   IGSA          DIGSA             Female/Male             A, B, C, D                  400                       367          379          368          159            0            0            0            0          0   GEO                    CITY                   3/1/2015           2/28/2020 320 (GM); $119.95 (1-320), $94.95 (321-400)                                      DMCP       Over 72         Regular      PBNDS 2011   Pending                           6/29/2017   Meets Standard            Meets Standard                                                                                                                               Yes
FLO               FLORENCE SERVICE PROCESSING CENTER              3250 NORTH PINAL PARKWAY                                                       FLORENCE                      PINAL                       AZ               85132   SPC           SPC               Male                    A, B                        392                       358          374          387          375          375          377          387          348        385   ASSET (GUARD)          ICE                   1/11/2009                     374 (GM for FLO and FSF combined); $222.05 (1-374), $0.00 (375-712)              DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                     4/6/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
WTXDFTX           WEST TEXAS DETENTION FACILITY                   401 S. VAQUERO AVE.                                                            SIERRA BLANCA                 HUDSPETH                    TX               79851   USMS IGA      USMS IGA          Female/Male             A, B, C, D                  450                        77          353          452          202          221          153            4          128         25   LASALLE CORRECTIONS    COUNTY                11/2/1999                     $77.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                         9/1/2016   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Acceptable       No
LRDICDF           LAREDO PROCESSING CENTER                        4702 EAST SAUNDERS STREET                                                      LAREDO                        WEBB                        TX               78041   USMS IGA      USMS IGA          Female                  A, B, C, D                  400                       300          312          301          279          312          321          326          229        242   CCA                    COUNTY               10/30/2002                     $59.79                                                                           DMCP       Over 72         Regular      NDS          Pending                            6/8/2017   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         Yes
CIBOCNM           CIBOLA COUNTY CORRECTIONAL CENTER               2000 CIBOLA LOOP                                                               MILAN                         CIBOLA                      NM               87021   IGSA          DIGSA             Male                    A, B, C, D                1,116                       301          306            0            0            0            0            0            0          0   CCA                    COUNTY               10/27/2016                     847 (GM); $2,261,984.08 Flat Monthly Rate (1-847), $44.36 (848-1116)             DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                    3/30/2017   Special Review - Pre-Occupancy                                                                                                                                         No
ETOWAAL           ETOWAH COUNTY JAIL (ALABAMA)                    827 FORREST AVENUE                                                             GADSDEN                       ETOWAH                      AL               35901   USMS IGA      USMS IGA          Male                    A, B, C, D                  350                       284          300          278          281          302          311          317          341        360   COUNTY (SHERIFF)       COUNTY                 3/9/2010                     $45.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        7/21/2016   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Acceptable       Yes
MUSIKCA           JAMES A. MUSICK FACILITY                        13502 MUSICK ROAD                                                              IRVINE                        ORANGE                      CA               92618   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                           291          297          290          254          288          308          289          280          0   COUNTY (SHERIFF)       COUNTY                7/20/2010           7/19/2020 $118.00                                                                          DMCP       Over 72         Regular      PBNDS 2008   Meets Standard                   10/20/2016   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
GLADEFL           GLADES COUNTY DETENTION CENTER                  1297 EAST SR 78                                                                MOORE HAVEN                   GLADES                      FL               33471   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                           374          296          130           92          192          332          414          420        418   COUNTY (SHERIFF)       COUNTY                5/30/2007                     $80.64                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        5/18/2017   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         Yes
ELZICDF           ELIZABETH CONTRACT DETENTION FACILITY           625 EVANS STREET                                                               ELIZABETH                     UNION                       NJ               07201   CDF           CDF               Female/Male             A, B                        304                       302          292          295          248          273          271          253          277        231   CCA                    CCA                   10/1/2011           8/31/2021 285 (GM); $133.95 (1-285), $131.84 (286-300), $33.72 (301+)                      DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                   10/14/2016   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard      Meets Standard   Yes
BAKERFL           BAKER COUNTY SHERIFF'S OFFICE                   1 SHERIFF OFFICE DRIVE                                                         MACCLENNY                     BAKER                       FL               32063   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                           291          270          188          168          228          210          247          251        167   COUNTY                 COUNTY                8/17/2009                     $84.72                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        4/20/2017   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         No
JOHNSTX           JOHNSON COUNTY LAW ENFORCEMENT CENTER           1800 RIDGEMAR DRIVE                                                            CLEBURNE                      JOHNSON                     TX               76031   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                           254          261          216          199          233          223          210          177        128   CEC                    COUNTY                 6/4/2009                     $59.72                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        8/18/2016   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         Yes
HENDENV           HENDERSON DETENTION CENTER                      18 E BASIC ROAD                                                                HENDERSON                     CLARK                       NV               89015   USMS IGA      USMS IGA          Female/Male             A, B, C, D                  300                       259          247          240          223          234          234          254          121          0   CITY                   CITY                  9/21/2009                     $106.00                                                                          DMCP       Over 72         Regular      NDS          Acceptable                        7/14/2016   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Acceptable       Yes
PRLDCTX           PRAIRIELAND DETENTION FACILITY                  1209 SUNFLOWER LN                                                              ALVARADO                      JOHNSON                     TX               76009   IGSA          DIGSA             Female/Male             A, B, C, D                  707                       547          245            0            0            0            0            0            0          0   LASALLE CORRECTIONS    CITY                  2/24/2015           2/23/2020 525 (GM); $89.25 (1-525), $89.25 (525-707)                                       DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                    4/20/2017   Special Review - Pre-Occupancy                                                                                                                                         No
ATLANGA           ATLANTA CITY DETENTION CENTER                   254 PEACHTREE STREET SOUTHWEST                                                 ATLANTA                       FULTON                      GA               30303   USMS IGA      USMS IGA          Female/Male             A, B, C, D                  200                       263          233          139           16           14           17           49          137        179   CITY                   CITY                  4/26/2002                     $78.00                                                                           DMCP       Over 72         Regular      NDS          Pending                           6/29/2017                             Acceptable                                          Acceptable                Acceptable                Acceptable          Superior         Yes
MCHENIL           MCHENRY COUNTY CORRECTIONAL FACILITY            2200 NORTH SEMINARY AVENUE                                                     WOODSTOCK                     MCHENRY                     IL               60098   USMS IGA      USMS IGA          Female/Male             A, B, C, D                  250                       224          233          207          167          185          188          247          294        226   COUNTY (SHERIFF)       COUNTY                11/3/2003                     $95.00                                                                           DMCP       Over 72         Regular      NDS          Pending                           6/15/2017   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         Yes
HASKLTX           ROLLING PLAINS DETENTION CENTER                 118 COUNTY ROAD 206                                                            HASKELL                       HASKELL                     TX               79521   IGSA          IGSA              Female/Male             A, B, C, D                  525                         0          224          490          440          472          467          504          481        509   LASALLE CORRECTIONS    CITY                  7/19/2002           2/11/2019 $69.10                                                                           DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                     2/9/2017   Meets Standard            Meets Standard            Acceptable                Acceptable                Acceptable                Acceptable          Superior         Yes
TOORANM           TORRANCE COUNTY DETENTION FACILITY              COUNTY ROAD 49                                                                 ESTANCIA                      TORRANCE                    NM               87016   USMS IGA      USMS IGA          Female/Male             A, B, C, D                  300                         0          220           45            0            0            0            1            0          1   CCA                    COUNTY                 4/1/2002                     $62.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                       10/20/2016   Acceptable                                                                    Acceptable                                          Acceptable          Superior         No
CBENDTX           COASTAL BEND DETENTION FACILITY                 4909 FM (FARM TO MARKET) 2826                                                  ROBSTOWN                      NUECES                      TX               78380   USMS IGA      USMS IGA          Male                    A                           700                         0          220            0           41          612          584          214            0          0   GEO                    GEO                   7/24/2012                     $66.56                                                                           DMCP       Over 72         Regular      PBNDS 2008   Pending                           1/26/2017   Special Review - Pre-Occupancy                      Meets Standard            Meets Standard            Meets Standard                                                 No
BERGENJ           BERGEN COUNTY JAIL                              160 SOUTH RIVER STREET                                                         HACKENSACK                    BERGEN                      NJ               07601   USMS IGA      USMS IGA          Male                    A, B, C, D                  128                       225          216          147          106          167          137          109          120        111   COUNTY (SHERIFF)       COUNTY                3/23/2009                     $110.00                                                                          DMCP       Over 72         Regular      NDS          Acceptable                         2/9/2017   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         Yes
JAMESGA           FOLKSTON ICE PROCESSING CENTER (D. RAY JAMES)   3423 HIGHWAY 252 EAST                                                          FOLKSTON                      CHARLTON                    GA               31537   IGSA          DIGSA             Male                    A                           780                       406          206            0            0            0            0            0            0          0   GEO                    COUNTY               12/16/2016                     780 (GM); $1,750,622 Flat Monthly Rate (1-780)                                   DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                    3/23/2017   Special Review - Pre-Occupancy                                                                                                                                         No
CONWECA           CONTRA COSTA COUNTY JAIL WEST                   5555 GIANT HIGHWAY                                                             RICHMOND                      CONTRA COSTA                CA               94806   USMS IGA      USMS IGA          Female/Male             A, B, C, D                  318                       228          205          196          120          233          160          120          122         53   COUNTY (SHERIFF)       COUNTY                9/21/2009                     $82.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                       10/20/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Acceptable       No
DODGEWI           DODGE COUNTY JAIL                               215 WEST CENTRAL STREET                                                        JUNEAU                        DODGE                       WI               53039   USMS IGA      USMS IGA          Female/Male             A, B, C, D                  265                       180          193          199          160          193          194          235          203        145   COUNTY (SHERIFF)       COUNTY                 4/6/2001                     $75.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        3/30/2017   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         Yes
PULASIL           PULASKI COUNTY JAIL                             1026 SHAWNEE COLLEGE ROAD                                                      ULLIN                         PULASKI                     IL               62992   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                           174          193          102            0            0            0            0            0          0   COUNTY                 COUNTY               12/29/2010                     $92.00                                                                           DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                     3/2/2017   Meets Standard                                                                                                                                                         Yes
PIKCOPA           PIKE COUNTY CORRECTIONAL FACILITY               175 PIKE COUNTY BOULEVARD                                                      LORDS VALLEY                  PIKE                        PA               18428   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                           151          186          169          114          160          173          174          176        172   COUNTY (SHERIFF)       COUNTY               12/31/2008                     $83.41                                                                           DMCP       Over 72         Regular      PBNDS 2008   Meets Standard                     1/6/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Acceptable                Acceptable          Superior         Yes
SUFFOMA           SUFFOLK COUNTY HOUSE OF CORRECTIONS             20 BRADSTON STREET                                                             BOSTON                        SUFFOLK                     MA               02118   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                           191          185          192          153          189          227          236          247        261   COUNTY (SHERIFF)       COUNTY                7/16/2003                     $90.00                                                                           DMCP       Over 72         Regular      NDS          Pending                           5/11/2017   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         Yes
SHERBMN           SHERBURNE COUNTY JAIL                           13880 UNITED STATES HIGHWAY 10                                                 ELK RIVER                     SHERBURNE                   MN               55330   USMS IGA      USMS IGA          Female/Male             A, B, C, D                  120                       245          183          127           97          110          118          129          116        127   COUNTY (SHERIFF)       COUNTY                 6/5/1997                     $80.00                                                                           DMCP       Over 72         Regular      NDS          Pending                           12/8/2016   Pending                   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Acceptable       Yes
SLRDCAZ           SAN LUIS REGIONAL DETENTION CENTER              406 NORTH AVENUE D                                                             SAN LUIS                      YUMA                        AZ               85349   USMS IGA      USMS IGA          Female/Male             A, B, C, D                  400                        42          180          101            5           58            1            0            0          0   LASALLE CORRECTIONS    CITY                  3/26/2007                     $72.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        4/20/2017   Acceptable                Acceptable                                          Acceptable                                          Acceptable          Acceptable       No
CALHOMI           CALHOUN COUNTY CORRECTIONAL CENTER              185 EAST MICHIGAN AVENUE                                                       BATTLE CREEK                  BRANCH                      MI               49014   IGSA          IGSA              Female/Male             A, B, C, D                  125                       147          178          148           86          127          118          162          163        170   COUNTY (SHERIFF)       COUNTY                8/21/2007                     75 (GM for DEAPDMI and CALHOMI combined); $72.00 (1-75), $40.00 (76-125), $64 DMCP          Over 72         Regular      NDS          Acceptable                         2/2/2017   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         Yes
KENOSWI           KENOSHA COUNTY DETENTION CENTER                 4777 88TH AVENUE                                                               KENOSHA                       KENOSHA                     WI               53144   USMS IGA      USMS IGA          Female/Male             A, B, C, D                  210                       137          178          166          130          174          155          181          181        159   COUNTY (SHERIFF)       COUNTY                8/18/2000                     $70.00                                                                           DMCP       Over 72         Regular      NDS          Pending                            6/8/2017   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         Yes
BRINDMA           BRISTOL COUNTY DETENTION CENTER                 400 FAUNCE CORNER ROAD                                                         NORTH DARTMOUTH               BRISTOL                     MA               02747   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                           194          175          116           81          141          153          206          212        226   COUNTY (SHERIFF)       COUNTY                9/27/2007                     $98.00                                                                           DMCP       Over 72         Regular      PBNDS 2008   Meets Standard                     5/4/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard            Meets Standard            Acceptable          Superior         Yes
WORCEMD           WORCESTER COUNTY JAIL                           5022 JOYNER ROAD                                                               SNOW HILL                     WORCESTER                   MD               21863   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                           161          174          165          142          168          178          185          169        113   COUNTY (SHERIFF)       COUNTY                 9/9/2008                     $87.11                                                                           DMCP       Over 72         Regular      NDS          Acceptable                         9/1/2016   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         Yes
NVSDCNV           NEVADA SOUTHERN DETENTION CENTER                2190 EAST MESQUITE AVENUE                                                      PAHRUMP                       NYE                         NV               89060   USMS IGA      USMS IGA          Female/Male             A, B, C, D                  250                       166          173           74            0            0            0            0            0          0   CCA                    OFDT                  10/1/2010           9/30/2030 $96.12                                                                           DMCP       Over 72         Regular      PBNDS 2008   Meets Standard                     8/4/2016   Meets Standard                                      Special Review - Pre-Occupancy                                                                                     No
ORANGNY           ORANGE COUNTY JAIL                              110 WELLS FARM ROAD                                                            GOSHEN                        ORANGE                      NY               10924   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                           159          169          172          129          114          118          112          106        109   COUNTY (CORRECTIONS)   COUNTY                5/24/2009                     $133.93                                                                          DMCP       Over 72         Regular      NDS          Acceptable                        4/13/2017   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         No
YUBAJCA           YUBA COUNTY JAIL                                215 5TH STREET                                                                 MARYSVILLE                    YUBA                        CA               95901   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                           192          168          189          192          199          211          227          215        242   COUNTY (SHERIFF)       COUNTY               12/15/2008          12/14/2018 $75.16                                                                           DMCP       Over 72         Regular      NDS          Pending                           11/3/2016   Pending                   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Acceptable       Yes
TULCOOK           TULSA COUNTY JAIL (DAVID L. MOSS JUSTICE CTR)   300 NORTH DENVER AVENUE                                                        TULSA                         TULSA                       OK               74103   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                           187          166          132          122          135          139          162          154        121   COUNTY (SHERIFF)       COUNTY                9/19/2007                     $54.13                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        5/25/2017   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         No
BOONEKY           BOONE COUNTY JAIL                               3020 CONRAD LANE                                                               BURLINGTON                    BOONE                       KY               41005   USMS IGA      USMS IGA          Female/Male             A, B, C, D                  200                       133          159          142          119          146          142          124          150         89   COUNTY (JAILER)        COUNTY                10/9/1996                     $55.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        2/16/2017   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         No
CCANOOH           NORTHEAST OHIO CORRECTIONAL CTR (YOUNGSTOWN CDF2240 HUBBARD ROAD                                                               YOUNGSTOWN                    MAHONING                    OH               44505   CDF           CDF               Male                    A, B, C                     984                       219          135            0            0            0            0            0            0          0   CCA                    CCA                  12/14/2016                     $63.62                                                                           DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                    3/23/2017   Special Review - Pre-Occupancy                                                                                                                                         Yes
RIOCCCA           RIO COSUMNES CORR. CENTER                       12500 BRUCEVILLE ROAD                                                          ELK GROVE                     SACRAMENTO                  CA               95757   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                           151          125          136          135          201            0            0            0          0   COUNTY (SHERIFF)       COUNTY                9/12/2013           9/11/2018 $100.00                                                                          DMCP       Over 72         Regular      NDS          Acceptable                        12/1/2016   Acceptable                Acceptable                Acceptable                                          Special Review - Pre-Occupancy                                 No
BUTLEOH           BUTLER COUNTY JAIL                              705 HANOVER STREET                                                             HAMILTON                      BUTLER                      OH               45011   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                           130          119           81           55           83          102          107          121         95   COUNTY (SHERIFF)       COUNTY                9/14/2004                     $53.20                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        1/12/2017   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         No
PLYMOMA           PLYMOUTH COUNTY CORRECTIONAL FACILITY           26 LONG POND ROAD                                                              PLYMOUTH                      PLYMOUTH                    MA               02360   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                            96          103           86           61          123          220          297          299        274   COUNTY (SHERIFF)       COUNTY                9/22/2008           9/21/2018 $93.82                                                                           DMCP       Over 72         Regular      NDS          Pending                           6/22/2017   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         Yes
WAKULFL           WAKULLA COUNTY JAIL                             15 OAK STREET                                                                  CRAWFORDVILLE                 WAKULLA                     FL               32327   IGSA          IGSA              Male                    B, C, D           AS NEEDED                            96          100           62           56           84           80          100          117        105   COUNTY (SHERIFF)       COUNTY                12/5/1996                     $79.66                                                                           DMCP       Over 72         Regular      NDS          Acceptable                       10/20/2016   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Acceptable       No
KANKEIL           KANKAKEE COUNTY JAIL (JEROME COMBS DET CTR)     3050 JUSTICE WAY                                                               KANKAKEE                      KANKAKEE                    IL               60901   USMS IGA      USMS IGA          Male                    A, B, C, D        AS NEEDED                           103           99            0            0            0            0            0            0          0   COUNTY                                        8/1/2014                     $80.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                         3/9/2017   Special Review - Pre-Occupancy                                                                                                                                         No
STRAFNH           STRAFFORD COUNTY CORRECTIONS                    266 COUNTY FARM ROAD                                                           DOVER                         STRAFFORD                   NH               03820   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                            91           98           67           29           27           29           39           17         18   COUNTY (CORRECTIONS)   COUNTY                6/27/2008                     $83.00                                                                           DMCP       Over 72         Regular      PBNDS 2008   Pending                           5/11/2017                             Meets Standard                                      Acceptable                                          Acceptable          Superior         No
TNWESDF           WESTERN TENNESSEE DETENTION FACILITY            6299 FINDE NAIFEH DRIVE                                                        MASON                         TIPTON                      TN               38049   USMS IGA      USMS IGA          Male                    A, B, C, D                   20                        14           96            3            6           49            5            7           11         10   CCA                    COUNTY                 2/1/2002           9/30/2019 $102.83                                                                          DMCP       Over 72         Regular      PBNDS 2008   Pending                           1/26/2017   Special Review - Pre-OccupMeets Standard            Acceptable                Acceptable                Acceptable                Meets Standard      Superior         No
CHARLSC           CHARLESTON COUNTY DETENTION CENTER              3841 LEEDS AVENUE                                                              NORTH CHARLESTON              CHARLESTON                  SC               29405   USMS IGA      USMS IGA          Male                    A, B, C, D                  256                        26           96            9            9           10           17           27           57         31   COUNTY (SHERIFF)       COUNTY                6/29/2007                     $55.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                       12/22/2016   Acceptable                Acceptable                                          Acceptable                Acceptable                Acceptable          Superior         No
OTROPNM           OTERO COUNTY PRISON FACILITY                    10 MCGREGOR RANGE ROAD                                                         CHAPARRAL                     DONA ANA                    NM               88081   USMS IGA      USMS IGA          Female/Male             A, B, C, D        AS NEEDED                           125           89            0            0           15           53          141           36          6   M&TC                   COUNTY                5/24/2010                     $80.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                         2/9/2017                                                                                                           Acceptable                Acceptable          Acceptable       No
FREEBMN           FREEBORN COUNTY ADULT DETENTION CENTER          411 SOUTH BROADWAY AVENUE                                                      ALBERT LEA                    FREEBORN                    MN               56007   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                            90           79           61           44           55           58           71           76         72   COUNTY (SHERIFF)       COUNTY                3/25/2009                     $77.02                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        3/30/2017                             Acceptable                Acceptable                Acceptable                Acceptable                Deficient           Superior         No
GREENMA           FRANKLIN COUNTY HOUSE OF CORRECTION             160 ELM STREET                                                                 GREENFIELD                    FRANKLIN                    MA               01301   USMS IGA      USMS IGA          Male                    A, B, C, D                   90                        72           70           71           65           70           65           39            2         31   COUNTY (SHERIFF)       COUNTY               10/25/2007                     $91.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        4/27/2017   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
DOCORNE           DOUGLAS COUNTY DEPARTMENT OF CORRECTIONS        710 SOUTH 17TH ST                                                              OMAHA                         DOUGLAS                     NE               68102   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                            45           70           82           62           71           65          110          131        108   COUNTY (CORRECTIONS)   COUNTY                2/16/2007                     $84.00                                                                           DMCP       Over 72         Regular      PBNDS 2008   Meets Standard                    11/3/2016   Meets Standard            Acceptable                Meets Standard            Meets Standard            Pending                                       Acceptable       No
HARDJIA           HARDIN COUNTY JAIL                              1116 14TH AVENUE                                                               ELDORA                        HARDIN                      IA               50627   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                            71           68           45           24           39           35           56           65         70   COUNTY (SHERIFF)       COUNTY                4/30/2009                     $70.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                       10/22/2015                             Acceptable                                          Acceptable                Acceptable                Acceptable          Acceptable       No
HOWARMD           HOWARD COUNTY DETENTION CENTER                  7301 WATERLOO ROAD                                                             JESSUP                        HOWARD                      MD               20794   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                            62           68           60           49           71           79           83           61         41   COUNTY (CORRECTIONS)   COUNTY                10/2/1995                     $90.00                                                                           DMCP       Over 72         Regular      PBNDS 2011   Meets Standard                   12/15/2016   Meets Standard            Meets Standard            Acceptable                Acceptable                Acceptable                Acceptable          Superior         Yes
MONROMI           MONROE COUNTY DETENTION-DORM                    7000 EAST DUNBAR ROAD                                                          MONROE                        MONROE                      MI               48161   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                            59           65           51           43           72            0            0            0          0   COUNTY (SHERIFF)       COUNTY                 7/1/2008           6/30/2018 $74.96                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        9/11/2015                             Acceptable                Acceptable                Acceptable                                          Acceptable          Acceptable       Yes
SENECOH           SENECA COUNTY JAIL                              3040 SOUTH STATE HIGHWAY 100                                                   TIFFIN                        SENECA                      OH               44883   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                            78           64           49           45           80           85           59          116        124   COUNTY (SHERIFF)       COUNTY                9/28/2007                     $58.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                       10/22/2015                             Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Acceptable       Yes
STCLAMI           SAINT CLAIR COUNTY JAIL                         1170 MICHIGAN ROAD                                                             PORT HURON                    SAINT CLAIR                 MI               48060   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                            47           64           69           41           49           28           41           45          9   COUNTY (SHERIFF)       COUNTY                8/31/2009          10/21/2017 $82.00                                                                           DMCP       Over 72         Regular      PBNDS 2008   Meets Standard                    8/27/2015                             Meets Standard            Meets Standard                                      Acceptable                Acceptable          Superior         No
VPREGVA           VIRGINIA PENINSULA REGIONAL JAIL                9320 MERRIMAC TRAIL                                                            WILLIAMSBURG                  JAMES CITY                  VA               23185   USMS IGA      USMS IGA          Female/Male             A, B, C, D        AS NEEDED                            47           64           50           39            1            0            0            0          0   COUNTY                 COUNTY                 4/1/2013                     $62.37                                                                           DMCP       Over 72         Regular      NDS          Pending                            4/6/2017   Acceptable                Acceptable                Special Review - Pre-Occupancy                                                                                     Yes
MONROFL           MONROE COUNTY DETENTION CENTER                  5501 COLLEGE ROAD                                                              KEY WEST                      MONROE                      FL               33040   IGSA          IGSA              Male                    B, C, D                      72                        67           62           52           46           57           57           85           81         16   COUNTY (SHERIFF)       COUNTY                5/13/1997                     50 (GM); $87.00 (1-50), $25.00 (51-72)                                           DMCP       Over 72         Regular      PBNDS 2008   Meets Standard                    7/28/2016   Meets Standard            Meets Standard            Meets Standard            Acceptable                Acceptable                Acceptable          Superior         No
MARSHIA           MARSHALL COUNTY JAIL                            2369 JESSUP AVENUE                                                             MARSHALLTOWN                  MARSHALL                    IA               50158   USMS IGA      USMS IGA          Female/Male             A, B, C, D                   35                        63           58           31           24           19            9           16           17          0   COUNTY (SHERIFF)       COUNTY                5/11/1999                     $50.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        9/24/2015                             Acceptable                                                                    Acceptable                Acceptable          Acceptable       No
MORGNMO           MORGAN COUNTY ADULT DETENTION CENTER            211 EAST NEWTON STREET                                                         VERSAILLES                    MORGAN                      MO               65084   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                            63           57           51           29           30           43           54           42         34   COUNTY (SHERIFF)       COUNTY                7/18/2003                     $65.10                                                                           DMCP       Over 72         Regular      NDS          Pending                           1/20/2017                             Acceptable                                          Acceptable                                          Acceptable          Superior         No
CHASEKS           CHASE COUNTY DETENTION FACILITY                 301 SOUTH WALNUT STREET                                                        COTTONWOOD FALLS              CHASE                       KS               66845   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                            71           56           44           32           42           24           26           25         28   COUNTY (SHERIFF)       COUNTY                 3/4/2008                     $48.50                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        7/16/2015                             Acceptable                                          Acceptable                                          Acceptable          Superior         No
CLAYCIN           CLAY COUNTY JAIL                                611 EAST JACKSON STREET                                                        BRAZIL                        CLAY                        IN               47834   USMS IGA      USMS IGA          Male                    A, B, C, D        AS NEEDED                            28           54           53           52           35            2            0            0          0   COUNTY (SHERIFF)       COUNTY                12/1/2006                     $45.00                                                                           DMCP       Over 72         Regular      PBNDS 2008   Pending                           5/25/2017   Meets Standard            Meets Standard            Meets Standard            Meets Standard                                                                           No
EHDLGTX           EAST HIDALGO DETENTION CENTER                   1330 HIGHWAY 107                                                               LA VILLA                      HIDALGO                     TX               78562   USMS IGA      USMS IGA          Male                    A, B                        100                         7           54          128           40          162          258          318            0          0   GEO                    COUNTY                7/24/2012                     $59.26                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        8/27/2015                             Acceptable                Acceptable                Good                                                Acceptable                           No
CLINTPA           CLINTON COUNTY CORRECTIONAL FACILITY            419 SHOEMAKER ROAD                                                             LOCK HAVEN                    CLINTON                     PA               17745   USMS IGA      USMS IGA          Female/Male             A, B, C, D                   50                        52           53           12           11           14           23           58           77         86   COUNTY (CORRECTIONS)   COUNTY                3/18/2008                     $67.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        10/1/2015                             Acceptable                                          Acceptable                Acceptable                Acceptable          Acceptable       No
HASHENE           HALL COUNTY DEPARTMENT OF CORRECTIONS           110 PUBLIC SAFETY DRIVE                                                        GRAND ISLAND                  HALL                        NE               68801   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                            87           51           14           10           26           37           66           82         67   COUNTY (SHERIFF)       COUNTY                12/3/2008                     $63.01                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        7/16/2015                             Acceptable                                          Acceptable                Acceptable                Acceptable          Superior         No
APPSCLA           ALLEN PARISH PUBLIC SAFETY COMPLEX              7340 HIGHWAY 26 WEST                                                           OBERLIN                       ALLEN                       LA               70655   IGSA          IGSA              Male                    A, B              AS NEEDED                            47           50           18            0            0            0            0            0          0   COUNTY                 COUNTY                 8/1/2015           7/31/2025 $51.00                                                                           DMCP       Over 72         Regular      PBNDS 2011   Pending                           5/18/2017   Pending                   Special Review - Pre-Occupancy                                                                                                               No
GEAUGOH           GEAUGA COUNTY JAIL                              12450 MERRITT DR                                                               CHARDON                       GEAUGA                      OH               44024   USMS IGA      USMS IGA          Female/Male             A, B, C, D                   30                        43           50           38           33           28           33           39            2          0   COUNTY (SHERIFF)       COUNTY                 1/1/2010                     $70.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        12/3/2015                             Acceptable                                          Acceptable                Acceptable                Acceptable                           No
LSRDCTX           LA SALLE COUNTY REGIONAL DETENTION CENTER       832 EAST TEXAS STATE HIGHWAY 44                                                ENCINAL                       LA SALLE                    TX               78019   USMS IGA      USMS IGA          Female/Male             A, B, C, D                  250                         0           44           35            1          162          105          111           37          0   COUNTY                 COUNTY                1/14/2004                     $67.63                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        9/22/2016   Acceptable                                          Acceptable                Acceptable                                          Acceptable          Superior         No
KARNETX           KARNES COUNTY CORRECTIONAL CENTER               810 COMMERCE STREET                                                            KARNES CITY                   KARNES                      TX               78118   USMS IGA      USMS IGA          Male                    A, B, C, D                   60                       140           43           20            0           41           40          276           83         19   GEO                    COUNTY                 3/4/1998                     $60.23                                                                           DMCP       Over 72         Regular      NDS          Pending                           3/16/2017   Acceptable                Special Review - Pre-Occupancy                      Acceptable                Acceptable                Acceptable          Superior         No
FREDEMD           FREDERICK COUNTY DETENTION CENTER               7300 MARCIE'S CHOICE LANE                                                      FREDERICK                     FREDERICK                   MD               21704   IGSA          IGSA              Male                    A, B              AS NEEDED                            42           43           39           40           52           49           54           52         49   COUNTY (SHERIFF)       COUNTY                 8/1/2007                     $83.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        7/16/2015                             Acceptable                                          Acceptable                Acceptable                Acceptable          Superior         No
YORCOSC           YORK COUNTY DETENTION CENTER                    1675-3A YORK HWY                                                               YORK                          YORK                        SC               29745   USMS IGA      USMS IGA          Male                    A, B, C, D                   70                        27           43           28           27           34           27           32           26         13   COUNTY (SHERIFF)       COUNTY                 3/5/1998                     $55.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        8/11/2016   Acceptable                                          Acceptable                                          Acceptable                Acceptable          Superior         No
WEBDCTX           WEBB COUNTY DETENTION CENTER (CCA)              9998 SOUTH HIGHWAY 83                                                          LAREDO                        WEBB                        TX               78046   USMS IGA      USMS IGA          Female/Male             A, B, C, D        AS NEEDED                             3           43            0            0            0            0            0            0          0   CCA                    CCA                   9/20/2011           11/7/2017 $87.94                                                                           DMCP       Over 72         Regular      NDS          Pending                           2/16/2017   Special Review - Pre-Occupancy                                                                                                                                         No
WCRDFTX           WILLACY CO REGIONAL DETENTION FACILITY          1601 BUFFALO DRIVE                                                             RAYMONDVILLE                  WILLACY                     TX               78580   USMS IGA      USMS IGA          Male                    A, B, C, D        AS NEEDED                             0           39           23            1            6            0            0            0          0   M&TC                   COUNTY               12/30/2009           9/30/2029 $96.30                                                                           DMCP       Over 72         Regular      NDS          Pending                           9/22/2016   Pending                   Acceptable                                                                                                                                   No
CARJAMN           CARVER COUNTY JAIL                              600 EAST FOURTH ST.                                                            CHASKA                        CARVER                      MN               55318   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                            28           36           29           17           35           28           31           33         29   COUNTY (SHERIFF)       COUNTY                3/23/2001                     $70.00 Adult $145.00 Juvenile                                                    DMCP       Over 72         Regular      NDS          Acceptable                       11/19/2015                             Acceptable                                          Acceptable                                          Acceptable          Acceptable       No
MOROWOH           MORROW COUNTY CORRECTIONAL FACILITY             101 HOME ROAD                                                                  MOUNT GILEAD                  MORROW                      OH               43338   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                            35           33           29           32           47           42           49           48         54   COUNTY (SHERIFF)       COUNTY                8/17/2009           8/16/2019 $53.64                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        2/11/2016   Acceptable                                          Acceptable                                          Acceptable                Acceptable          Superior         No
BROKSTX           BROOKS COUNTY DETENTION CENTER                  901 COUNTY ROAD 201                                                            FALFURRIAS                    BROOKS                      TX               78355   USMS IGA      USMS IGA          Male                    A                           200                         0           32           23            1           43          190           53            0          0   GEO                    COUNTY                3/22/2011                     $63.00                                                                           DMCP       Over 72         Regular      NDS          Pending                           4/13/2017   Acceptable                                          Acceptable                Acceptable                Acceptable                                                     No
ALBCONY           ALBANY COUNTY JAIL                              840 ALBANY SHAKER ROAD                                                         ALBANY                        KINGS                       NY               12211   USMS IGA      USMS IGA          Female/Male             A, B, C, D                   14                        24           31           29            9           16            4            4           13          3   COUNTY (SHERIFF)       COUNTY                 7/1/2009                     $119.30                                                                          DMCP       Over 72         ORSA         NDS          Acceptable                        7/22/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Acceptable       No
DEKALAL           DEKALB COUNTY DETENTION CENTER                  2801 JORDAN ROAD                                                               FORT PAYNE                    DEKALB                      AL               35968   USMS IGA      USMS IGA          Female/Male             A, B, C, D                   60                        39           31           22           22           34           31           42           54         44   COUNTY (SHERIFF)       COUNTY                6/28/2007                     $47.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                         1/6/2017                             Acceptable                                          Acceptable                Acceptable                Acceptable          Superior         No
YIKIMWA           YAKIMA COUNTY DEPARTMENT OF CORRECTIONS         111 NORTH FRONT STREET                                                         YAKIMA                        YAKIMA                      WA               98901   USMS IGA      USMS IGA          Male                    A, B, C           AS NEEDED                             2           30            8            7            2            2            3            4          5   COUNTY (CORRECTIONS)   COUNTY                 9/9/2010                     $84.51                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        7/20/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
NORCOOR           NORTHERN OREGON CORRECTIONAL FACILITY           211 WEBBER ROAD                                                                THE DALLES                    WASCO                       OR               97058   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                            15           25           14            7            8            3            3            2          8   COUNTY (JAILER)        COUNTY                 4/8/2015                     $80.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        9/30/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
CAMBRPA           CAMBRIA COUNTY JAIL                             425 MANOR DRIVE                                                                EBENSBURG                     CAMBRIA                     PA               15931   USMS IGA      USMS IGA          Male                    A, B, C, D                   15                        28           25            4            0            2           14           18           25         31   COUNTY (PRISON)        COUNTY                 1/3/2008                     $51.53                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        8/30/2016   Acceptable                Acceptable                                          Acceptable                                          Acceptable          Acceptable       No
CHIPPMI           CHIPPEWA COUNTY SSM                             325 COURT STREET                                                               SAULT SAINTE MARIE            CHIPPEWA                    MI               49783   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                            36           24           18            9           20           17           35           44         38   COUNTY (SHERIFF)       COUNTY                2/21/2003                     $56.69                                                                           DMCP       Over 72         Regular      NDS          Acceptable                         3/9/2017   Acceptable                Acceptable                                          Acceptable                                          Acceptable          Superior         No
MONTGMO           MONTGOMERY COUNTY JAIL                          211 EAST THIRD STREET                                                          MONTGOMERY CITY               MONTGOMERY                  MO               63361   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                            19           22           18           14           21           19           29           37         32   COUNTY (SHERIFF)       COUNTY                9/25/2007                     $50.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        8/13/2015                             Acceptable                                          Acceptable                                          Acceptable          Superior         No
CLICONY           CLINTON COUNTY JAIL                             25 MCCARTHY DRIVE                                                              PLATTSBURGH                   CLINTON                     NY               12901   USMS IGA      USMS IGA          Female/Male             A, B                         13                        14           20           14            3            5            4            6           13         13   COUNTY (SHERIFF)       COUNTY                 3/1/1989                     $102.00                                                                          DMCP       Over 72         Regular      NDS          Pending                            6/8/2017   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
POLKJIA           POLK COUNTY JAIL                                1985 NE 51ST                                                                   DES MOINES                    POLK                        IA               50313   USMS IGA      USMS IGA          Female/Male             A, B, C, D                   60                        26           19            3            1           14           23           46           57         43   COUNTY (SHERIFF)       COUNTY                7/25/2007                     $95.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                         8/1/2016   Acceptable                Acceptable                                          Acceptable                Acceptable                Acceptable          Superior         No
CALDWMO           CALDWELL COUNTY DETENTION CENTER                280 WEST MAIN STREET                                                           KINGSTON                      CALDWELL                    MO               64650   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                            16           19           21           24           23           28           37           31         35   COUNTY (SHERIFF)       COUNTY                3/19/2004                     $65.97                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        5/19/2016   Acceptable                                          Acceptable                                          Acceptable                Acceptable          Superior         No
POTTAIA           POTTAWATTAMIE COUNTY JAIL                       1400 BIG LAKE ROAD                                                             COUNCIL BLUFFS                POTTAWATTAMIE               IA               51501   USMS IGA      USMS IGA          Male                    A, B, C, D                   10                        10           15           12            6           12            7           18           26         38   COUNTY (SHERIFF)       COUNTY                 1/8/1997                     $79.26                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        4/13/2017   Acceptable                                          Acceptable                                          Acceptable                Acceptable          Superior         No
PLATTMO           PLATTE COUNTY DETENTION CENTER                  415 THIRD STREET                                                               PLATTE CITY                   PLATTE                      MO               64079   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                            20           15            1            0            0            0            0            0          1   COUNTY (SHERIFF)       COUNTY                2/12/2009                     $77.90                                                                           DMCP       Over 72         Regular      NDS          Acceptable                       12/15/2016   Acceptable                Acceptable                                                                                              Acceptable          Superior         No
EULESTX           EULESS CITY JAIL                                1102 W. EULESS BLVD.                                                           EULESS                        TARRANT                     TX               76040   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                             0           15           18           13           17           17           20           13          9   CITY                   CITY                 11/17/1989                     $55.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        8/31/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Acceptable       No
BEDCITX           BEDFORD MUNICIPAL DETENTION CENTER              2121 L DON DODSON DRIVE                                                        BEDFORD                       TARRANT                     TX               76021   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                            17           13           16           11           18           14           14           18          8   CITY                   CITY                  6/30/1999                     $51.12                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        7/29/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
CASSCNE           CASS COUNTY JAIL                                336 MAIN STREET                                                                PLATTSMOUTH                   CASS                        NE               68048   USMS IGA      USMS IGA          Female/Male             A, B, C, D                   50                        12           13            6            5           17           28           29           29         29   COUNTY (SHERIFF)       COUNTY                12/7/2004                     $66.51                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        8/29/2016   Acceptable                Acceptable                                          Acceptable                                          Acceptable          Superior         No
CHRISMO           CHRISTIAN COUNTY JAIL                           110 WEST ELM                                                                   OZARK                         CHRISTIAN                   MO               65721   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                            17           13           13           11            7           17           20           17         13   COUNTY (SHERIFF)       COUNTY                4/15/2004                     $62.43                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        7/27/2015                             Acceptable                                          Acceptable                                          Acceptable          Superior         No
WASHONV           WASHOE COUNTY JAIL                              911 PARR BOULEVARD                                                             RENO                          WASHOE                      NV               89512   USMS IGA      USMS IGA          Male                    A, B, C, D                   86                        29           13           14           14           17           15           14           18         16   COUNTY (SHERIFF)       COUNTY               12/24/2008                     $109.00                                                                          DMCP       Over 72         Regular      NDS          Acceptable                        8/18/2016   Acceptable                                          Pending                                             Pending                   Acceptable          Superior         No
ALLEGNY           ALLEGANY COUNTY JAIL                            4884 STATE ROUTE 19                                                            BELMONT                       ALLEGANY                    NY               14813   IGSA          IGSA              Female                  A, B, C, D        AS NEEDED                            16           11           12            8            9            9           10           17         10   COUNTY (SHERIFF)       COUNTY                8/17/2007                     $95.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                         2/9/2017   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Acceptable       No
GFCORND           GRAND FORKS COUNTY CORRECTIONAL FACILITY        1701 NORTH WASHINGTON ST                                                       GRAND FORKS                   GRAND FORKS                 ND               58206   IGSA          IGSA              Female/Male             B, C, D           AS NEEDED                             3            9            3            4            5            5           15           18         22   COUNTY (SHERIFF)       COUNTY                3/23/1998                     $150.00 for UAC, $70.00 for Adult                                                DMCP       Over 72         ORSA         NDS          Acceptable                        9/23/2016   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                                    Acceptable       No
STTAMLA           SAINT TAMMANY PARISH JAIL                       701 NORTH COLUMBIA STREET                                                      COVINGTON                     SAINT TAMMANY               LA               70433   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                             7            9            4            4            5            6            3            0          0   COUNTY (SHERIFF)       COUNTY                9/20/2010                     $56.69                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        6/28/2016   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                                                     No
ELMORID           ELMORE COUNTY JAIL                              2255 E. 8TH NORTH                                                              MOUNTAIN HOME                 ELMORE                      ID               83647   USMS IGA      USMS IGA          Male                    A, B, C, D                   15                         6            8            5            5            5            6           10           11          6   COUNTY (SHERIFF)       COUNTY                 4/1/1990                     $60.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        7/29/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Acceptable       No
BUTLEKS           BUTLER COUNTY JAIL                              701 SE STONE ROAD                                                              EL DORADO                     BUTLER                      KS               67042   USMS IGA      USMS IGA          Female/Male             B, C, D                      25                        10            8            5            5            7            9            9           12          6   COUNTY (SHERIFF)       COUNTY                4/11/2001                     $60.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        6/21/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
LINCOMO           LINCOLN COUNTY DETENTION CENTER                 65 BUSINESS PARK DRIVE                                                         TROY                          LINCOLN                     MO               63379   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                             9            8            7           12           15            8            9            6          9   COUNTY (SHERIFF)       COUNTY                11/3/1999                     $50.00                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        6/16/2016   Acceptable                                          Acceptable                Acceptable                                          Acceptable          Deficient        No
NOBLEMN           NOBLES COUNTY JAIL                              1530 AIRPORT ROAD                                                              WORTHINGTON                   NICOLLET                    MN               56187   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                            24            7            1            1            1            2            4            5          4   COUNTY (SHERIFF)       COUNTY                3/11/2002                     $89.69                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        7/23/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
VALVETX           VAL VERDE CORRECTIONAL FACILITY                 253 FARM TO MARKET 2523                                                        DEL RIO                       VAL VERDE                   TX               78840   USMS IGA      USMS IGA          Female/Male             A, B              AS NEEDED                             1            7            9           12           27           28           28            7          6   GEO                    COUNTY                10/8/1997                     $56.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        8/31/2016   Acceptable                Acceptable                Acceptable                                                                    Acceptable          Acceptable       No
WAKECNC           WAKE COUNTY SHERIFF DEPARTMENT                  330 SOUTH SALISBURY STREET                                                     RALEIGH                       WAKE                        NC               27601   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                             3            6            3            3            3            3            3            5          8   COUNTY (SHERIFF)       COUNTY                9/22/2008                     $63.86                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        9/16/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
SHACOKS           SHAWNEE COUNTY DEPARTMENT OF CORRECTIONS        501 SOUTHEAST 8TH AVENUE                                                       TOPEKA                        SHAWNEE                     KS               66607   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                             8            6            3            0            1            2            7            6          3   COUNTY (CORRECTIONS)   COUNTY                1/10/1997                     $67.85                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        6/21/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Acceptable       No
COLLIFL           COLLIER COUNTY NAPLES JAIL CENTER               3301 TAMIAMI TRAIL EAST                                                        NAPLES                        COLLIER                     FL               34112   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                             9            6            4            5            7            7            7            7          8   COUNTY (SHERIFF)       COUNTY                9/24/2007                     $71.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        7/22/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
WVSCENT           SOUTH CENTRAL REGIONAL JAIL                     1001 CENTRE WAY                                                                CHARLESTON                    KANAWHA                     WV               25309   USMS IGA      USMS IGA          Male                    A, B, C, D                    5                         4            6            6            3            3            4            5            3          2   COUNTY (CORRECTIONS)   RJA                   4/11/1996           6/30/2018 $56.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        8/19/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Acceptable       No
LINNJIA           LINN COUNTY JAIL                                53 3RD AVENUE BRIDGE                                                           CEDAR RAPIDS                  LINN                        IA               52401   USMS IGA      USMS IGA          Female/Male             A, B, C, D                   25                         4            6            3            3            4            5            9           14          9   COUNTY (SHERIFF)       COUNTY               12/13/1999                     $64.70                                                                           DMCP       Over 72         Regular      NDS          Acceptable                         5/7/2015                             Acceptable                                          Acceptable                                          Acceptable          Superior         No
WASHCUT           WASHINGTON COUNTY JAIL (PURGATORY CORRECTIONAL F750 SOUTH 5400 WEST                                                            HURRICANE                     WASHINGTON                  UT               84737   USMS IGA      USMS IGA          Male                    A, B, C, D                    6                         5            5            3            4            4            5           10           15         18   COUNTY (SHERIFF)       COUNTY                1/15/2008                     $58.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        8/16/2016   Acceptable                Acceptable                Acceptable                                          Acceptable                Acceptable          Acceptable       No
PHELPNE           PHELPS COUNTY JAIL                              715 5TH AVENUE                                                                 HOLDREGE                      PHELPS                      NE               68949   USMS IGA      USMS IGA          Male                    A, B, C, D                   20                         6            5            3            3            9           11           16           25         23   COUNTY (SHERIFF)       COUNTY                5/16/2002                     $55.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                         9/1/2016   Acceptable                Acceptable                                          Acceptable                                          Acceptable          Superior         No
DAVIDTN           DAVIDSON COUNTY SHERIFF                         448 2ND AVENUE                                                                 NASHVILLE                     DAVIDSON                    TN               37210   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                             7            4            4            4            5            6           14           18         17   COUNTY (SHERIFF)       COUNTY                 8/9/2007                     $61.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        8/31/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
CHACONY           CHAUTAUQUA COUNTY JAIL                          15 E. CHAUTAUQUA STREET                                                        MAYVILLE                      CHAUTAUQUA                  NY               14757   IGSA          IGSA              Female                  A, B, C, D        AS NEEDED                             5            4            5            2            5            2            4            0          2   COUNTY (SHERIFF)       COUNTY                 8/1/2010                     $94.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        6/16/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Acceptable       No
RAADCMN           RAMSEY COUNTY ADULT DETENTION CENTER            425 GROVE STREET                                                               ST. PAUL                      RAMSEY                      MN               55101   USMS IGA      USMS IGA          Female/Male             B, C, D                      15                         0            4           11           10           22           28           48           66         59   COUNTY (SHERIFF)       COUNTY                2/10/1986                     $80.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        9/30/2016   Acceptable                                          Acceptable                                          Acceptable                Acceptable          Acceptable       No
COBBJGA           COBB COUNTY JAIL                                1825 COUNTY SERVICES PARKWAY                                                   MARIETTA                      COBB                        GA               30060   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                             0            4            1            1            1            2            5            8         12   COUNTY (SHERIFF)       COUNTY                9/30/2008                     $42.58                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        9/16/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
JEFFEID           JEFFERSON COUNTY JAIL                           219 EAST FREMONT AVE                                                           RIGBY                         JEFFERSON                   ID               83442   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                            12            3            1            2            2            1            4            4          3   COUNTY                 COUNTY                1/23/2009                     $62.69                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        7/29/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
DEAPDMI           DEARBORN POLICE DEPARTMENT                      16099 MICHIGAN AVE                                                             DEARBORN                      WAYNE                       MI               48126   IGSA          IGSA              Female/Male             A, B, C, D                    8                         4            3            2            2            3            4            5            6          7   CITY                   CITY                  8/21/2007                     75 (GM for DEAPDMI and CALHOMI combined); $72.00 (1-75), $40.00 (76-125), $64 DMCP          Under 72        ORSA         NDS          Acceptable                         8/4/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Acceptable       No
ERICOPA           ERIE COUNTY JAIL                                1618 ASH STREET                                                                ERIE                          ERIE                        PA               16503   USMS IGA      USMS IGA          Male                    A, B, C, D                    5                         4            3            3            4            1            2            4            7          8   COUNTY (CORRECTIONS)   COUNTY                12/7/2001                     $75.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        7/15/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
BALDWAL           BALDWIN COUNTY CORRECTIONAL CENTER              200 HAND AVE.                                                                  BAY MINETTE                   BALDWIN                     AL               36507   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                             5            3            2            1            2            2            2            2          0   COUNTY (SHERIFF)       COUNTY                6/24/2009                     $40.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        7/28/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable                           No
MINICID           MINICASSIA DETENTION CENTER                     1415 ALBION AVENUE                                                             BURLEY                        CASSIA                      ID               83318   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                             4            3            3            2            3            3            3            5          5   COUNTY (SHERIFF)       COUNTY                10/1/1993                     $45.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                         8/5/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
BURNETX           BURNET COUNTY JAIL                              JAIL ADMINISTRATOR                                                             BURNET                        BURNET                      TX               78611   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                             6            2            1            2            2            0            0            0          0   COUNTY (SHERIFF)       COUNTY                 6/4/1998                     $59.26                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        8/22/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
CUMBEME           CUMBERLAND COUNTY JAIL                          50 COUNTY WAY                                                                  PORTLAND                      CUMBERLAND                  ME               04102   USMS IGA      USMS IGA          Male                    A, B, C, D                   70                         3            2            1            1            1            2            4            6         13   COUNTY (SHERIFF)       COUNTY                 1/8/1997                     $130.00                                                                          DMCP       Over 72         ORSA         NDS          Acceptable                        8/31/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
WAYNENY           WAYNE COUNTY JAIL                               7368 STATE ROUTE 31                                                            LYONS                         WAYNE                       NY               14489   USMS IGA      USMS IGA          Female                  A                            19                         0            2            4            1            1            4           14           19         15   COUNTY (SHERIFF)       COUNTY                5/30/1995                     $75.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        7/22/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
HALLJGA           HALL COUNTY JAIL                                1700 BARBER ROAD                                                               GAINESVILLE                   HALL                        GA               30507   USMS IGA      USMS IGA          Male                    A, B, C           AS NEEDED                             2            2            2            1            2            2            3            3          3   COUNTY (SHERIFF)       COUNTY                11/6/2007                     $53.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        9/16/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Acceptable       No
RNDLLTX           RANDALL COUNTY JAIL                             9100 SOUTH GEORGIA STREET                                                      AMARILLO                      RANDALL                     TX               79118   USMS IGA      USMS IGA          Female/Male             A, B, C, D                   40                         0            2            1            2            1            2            3            3          9   COUNTY (SHERIFF)       COUNTY                 7/1/2007                     $65.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                         7/1/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
MECKLNC           MECKLENBURG COUNTY DETENTION CENTER NORTH       5234 SPECTOR DRIVE                                                             CHARLOTTE                     MECKLENBURG                 NC               28202   USMS IGA      USMS IGA          Female/Male             A, B, C, D        AS NEEDED                             1            2            1            1            2            1            3           22         50   COUNTY (SHERIFF)       COUNTY                 6/8/2000                     $124.78                                                                          DMCP       Under 72        ORSA         NDS          Acceptable                        9/16/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
DAKOTNE           DAKOTA COUNTY JAIL                              1601 BROADWAY                                                                  DAKOTA CITY                   DAKOTA                      NE               68731   USMS IGA      USMS IGA          Female/Male             A, B, C, D                   20                         0            2            1            0            1            1            2            2          2   COUNTY (SHERIFF)       COUNTY                5/16/2007                     $65.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        8/11/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
LEXINSC           LEXINGTON COUNTY JAIL                           521 GIBSON ROAD                                                                LEXINGTON                     LEXINGTON                   SC               29072   USMS IGA      USMS IGA          Male                    A, B, C, D                   28                         0            2            2            2            2            3            4            4          0   COUNTY (SHERIFF)       COUNTY                10/1/2010                     $60.81                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        9/16/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
DELAWPA           DELAWARE CO JAIL (GEORGE W. HILL)               500 CHAYNEY ROAD                                                               THORNTON                      DELAWARE                    PA               19373   USMS IGA      USMS IGA          Female/Male             A, B, C, D        AS NEEDED                             0            2            1            0            0            0            0            0          0   COUNTY                 COUNTY                7/15/2015           7/31/2017 $80.87                                                                           DMCP       Under 72        Regular      NDS          Special Review - Pre-Occu         6/30/2016   Special Review - Pre-OccupAcceptable                                                                                                                                   No
MARIOIN           MARION COUNTY JAIL                              40 SOUTH ALABAMA STREET                                                        INDIANAPOLIS                  MARION                      IN               46204   USMS IGA      USMS IGA          Female/Male             A, B, C, D                    5                         1            2            1            1            1            2            4            6          4   COUNTY (SHERIFF)       COUNTY                 3/1/2007                     $65.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        6/30/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
WHITFGA           WHITFIELD COUNTY JAIL                           805 PROFESSIONAL BLVD                                                          DALTON                        WHITFIELD                   GA               30720   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                             1            2            1            1            2            3            4            1          0   COUNTY (SHERIFF)       COUNTY                9/25/2009                     $41.03                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        9/16/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Acceptable       No
ALEXAVA           ALEXANDRIA CITY JAIL                            2003 MILL ROAD                                                                 ALEXANDRIA                    ALEXANDRIA CITY             VA               22314   USMS IGA      USMS IGA          Female/Male             A, B, C, D        AS NEEDED                             1            2            1            1            0            0            0            0          0   CITY                   CITY                   4/7/1982           5/21/2022 $113.50                                                                          DMCP       Under 72        ORSA         NDS          Acceptable                        9/26/2016   Acceptable                                                                                                                        Acceptable          Acceptable       No
SEBASAR           SEBASTIAN COUNTY DETENTION CENTER               801 SOUTH A STREET                                                             FORT SMITH                    SEBASTIAN                   AR               72901   USMS IGA      USMS IGA          Male                    A, B, C, D                   20                         0            2            1            1            2            2            4            6          6   COUNTY (SHERIFF)       COUNTY                5/17/2001                     $53.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        6/25/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Acceptable       No
FORSYNC           FORSYTH COUNTY JAIL                             201 NORTH CHURCH STREET                                                        WINSTON-SALEM                 FORSYTH                     NC               27101   USMS IGA      USMS IGA          Male                    A, B, C, D        AS NEEDED                             1            1            1            1            1            1            0            0          0   COUNTY (SHERIFF)       COUNTY                12/1/1995                     $62.22                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        9/16/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
CASCAMT           CASCADE COUNTY JAIL (MONTANA)                   3800 ULM NORTH FRONTAGE ROAD                                                   GREAT FALLS                   CASCADE                     MT               59404   USMS IGA      USMS IGA          Male                    A, B, C, D                   35                         5            1            1            1            1            1            1            1          2   COUNTY (SHERIFF)       COUNTY                 4/1/2010                     $75.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        6/22/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
PINELFL           PINELLAS COUNTY JAIL                            14400 49TH STREET NORTH                                                        CLEARWATER                    PINELLAS                    FL               33762   USMS IGA      USMS IGA          Male                    A, B, C, D                    5                         3            1            0            0            1            1            2            1          1   COUNTY (SHERIFF)       COUNTY                3/31/2009                     $80.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        7/15/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Acceptable       No
GRAYSKY           GRAYSON COUNTY JAIL                             320 SHAW STATION ROAD                                                          LEITCHFIELD                   GRAYSON                     KY               42754   USMS IGA      USMS IGA          Female/Male             A, B, C, D                   10                         0            1            1            1            1            4            0            1          0   COUNTY (JAILER)        COUNTY                 6/1/2005                     $47.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        6/21/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
JOSEPOR           JOSEPHINE COUNTY JAIL                           1901 NORTHEAST F STREET                                                        GRANTS PASS                   JOSEPHINE                   OR               97526   USMS IGA      USMS IGA          Male                    A, B, C, D                   31                         3            1            1            1            7            6            5            5          4   COUNTY (SHERIFF)       COUNTY                 4/6/2000                     $100.00                                                                          DMCP       Over 72         ORSA         NDS          Acceptable                         9/6/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
ORANGFL           ORANGE COUNTY JAIL                              3855 SOUTH JOHN YOUNG PARKWAY                                                  ORLANDO                       ORANGE                      FL               32839   USMS IGA      USMS IGA          Female/Male             A, B, C, D                    5                         0            1            1            1            0            1            2            3          1   COUNTY                 COUNTY                7/27/2004                     $88.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        7/29/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
LONPDAR           LONOKE POLICE DEPARTMENT                        203 W. FRONT STREET                                                            LONOKE                        LONOKE                      AR               72086   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                             0            1            1            1            1            2            2            4          3   CITY                   CITY                  4/12/1994                     $30.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        7/12/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
OLDHAKY           OLDHAM COUNTY JAIL                              100 W MAIN STREET                                                              LA GRANGE                     OLDHAM                      KY               40031   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                             0            1            1            1            0            0            0            0          0   COUNTY (JAILER)        COUNTY                 5/7/1999                     $37.73                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        6/30/2016   Acceptable                                                                                                                                                             No
ROCKIIL           ROCK ISLAND COUNTY CORRECTIONAL CENTER          1317 3RD AVENUE                                                                ROCK ISLAND                   ROCK ISLAND                 IL               61201   USMS IGA      USMS IGA          Male                    A, B, C, D                   20                         0            1            1            1            1            1            2            4          1   COUNTY (SHERIFF)       COUNTY                4/13/1983                     $45.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        8/19/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
FAYETKY           FAYETTE COUNTY DETENTION CENTER                 600 OLD FRANKFORD CR                                                           LEXINGTON                     FAYETTE                     KY               40510   USMS IGA      USMS IGA          Female/Male             A, B, C, D        AS NEEDED                             1            1            1            0            0            0            0            0          0   COUNTY                 COUNTY                5/28/2010                     $75.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                         7/8/2016   Acceptable                                                                                                                                                             No
MNTGMAL           MONTGOMERY CITY JAIL                            320 NORTH RIPLEY STREET                                                        MONTGOMERY                    MONTGOMERY                  AL               36104   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                             0            1            1            1            1            1            1            1          0   CITY                   CITY                  8/29/1997                     $48.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                         7/7/2016   Acceptable                Acceptable                Acceptable                                                                                                         No
NWHNVNC           NEW HANOVER COUNTY JAIL                         3950 JUVENILE RD                                                               CASTLE HAYNE                  NEW HANOVER                 NC               28429   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                             2            1            0            0            1            1            0            0          0   COUNTY (SHERIFF)       COUNTY                 7/1/2002                     $60.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        9/16/2016   Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                Acceptable                           No
MILLRAR           MILLER COUNTY JAIL                              2300 EAST STREET                                                               TEXARKANA                     MILLER                      AR               71854   USMS IGA      USMS IGA          Male                    A, B, C, D                   13                         0            1            1            0            1            1            2            3          3   COUNTY (SHERIFF)       COUNTY                5/28/2003                     $52.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                         7/7/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Deficient        No
ELPASCO           EL PASO COUNTY CRIMINAL JUSTICE CENTER          2739 EAST LAS VEGAS                                                            COLORADO SPRINGS              EL PASO                     CO               80906   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                             0            1            6           27           64           65           63           78         75   COUNTY (SHERIFF)       COUNTY                8/25/2008           8/24/2018 $62.40                                                                           DMCP       Over 72         Regular      NDS          Acceptable                        5/14/2015                             Acceptable                Acceptable                Acceptable                Acceptable                Acceptable          Superior         No
LUBBOTX           LUBBOCK COUNTY DETENTION CENTER                 811 MAIN STREET                                                                LUBBOCK                       LUBBOCK                     TX               79401   USMS IGA      USMS IGA          Male                    A, B, C, D                   15                         0            1            1            0            1            1            0            1          2   COUNTY (SHERIFF)       COUNTY               11/16/1984                     $65.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        7/29/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Acceptable       No
JHRWLTX           JACK HARWELL DETENTION CENTER                   3101 MARLIN HWY                                                                WACO                          MCLENNAN                    TX               76705   USMS IGA      USMS IGA          Male                    A, B, C, D                  200                         0            1            0            0          129          124          117           23          0   CEC                    COUNTY                3/11/2010                     $69.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                        8/10/2016   Acceptable                Acceptable                Acceptable                                                                    Acceptable                           No
RONKEVA           ROANOKE CITY JAIL                               340 CAMPBELL AVENUE SOUTHWEST                                                  ROANOKE                       ROANOKE                     VA               24016   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                             2            1            1            1            0            0            1            1          0   CITY                   CITY                                                $46.57                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                         9/9/2016   Acceptable                                          Acceptable                                                                                                         No
ELGPDIL           ELGIN POLICE DEPARTMENT                         151 DOUGLAS AVENUE                                                             ELGIN                         KANE                        IL               60120   IGSA          IGSA              Male                    A, B, C, D        AS NEEDED                             0            1            1            1            1            1            1            1          1   CITY                   CITY                 12/10/1998                     $50.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                         7/8/2016   Acceptable                Acceptable                Acceptable                Acceptable                                          Acceptable          Superior         No
ROCKIVA           ROCKINGHAM COUNTY JAIL                          25 SOUTH LIBERTY STREET                                                        HARRISONBURG                  HARRISONBURG CITY           VA               22801   USMS IGA      USMS IGA          Male                    A, B, C, D        AS NEEDED                             0            0            0            0            0            0            0            0          0   COUNTY (SHERIFF)       COUNTY                1/17/1996                     $72.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                         9/2/2016   Acceptable                Acceptable                                                                                              Acceptable          Superior         No
WACLATX           CENTRAL TEXAS DETENTION FACILITY                218 S. LAREDO ST                                                               SAN ANTONIO                   BEXAR                       TX               78207   USMS IGA      USMS IGA          Male                    A, B, C, D        AS NEEDED                             0            0            0            0            1            1            1            1          3   GEO                    COUNTY                4/29/2009                     $58.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                        6/12/2016   Acceptable                Acceptable                                          Acceptable                                          Acceptable          Superior         No
TELLECO           TELLER COUNTY JAIL                              288 WEAVERVILLE ROAD                                                           DIVIDE                        TELLER                      CO               80814   IGSA          IGSA              Female/Male             A, B, C, D        AS NEEDED                             0            0           10            4            9            4           10            7          7   COUNTY (SHERIFF)       COUNTY                10/5/2000                     $60.00                                                                           DMCP       Over 72         ORSA         NDS          Acceptable                         9/1/2016   Acceptable                Acceptable                                          Acceptable                                          Acceptable          Superior         No
VTSTALB           NORTHWEST STATE CORRECTIONAL CENTER             3649 LOWER NEWTON ROAD                                                         SWANTON                       FRANKLIN                    VT               05488   USMS IGA      USMS IGA          Male                    A, B, C, D        AS NEEDED                             0            0            0            0            1            0            1            0          0   COUNTY (CORRECTIONS)   COUNTY                 6/1/2012                     $130.00                                                                          DMCP       Under 72        ORSA         NDS          Acceptable                        8/22/2016   Acceptable                Acceptable                Acceptable                                                                                                         No
NATROWY           NATRONA COUNTY JAIL                             1100 BRUCE LANE                                                                CASPER                        NATRONA                     WY               82601   USMS IGA      USMS IGA          Male                    A, B, C, D        AS NEEDED                             0            0            0            0            0            0            0            1          1   COUNTY (SHERIFF)       COUNTY                 4/4/2011                     $75.00                                                                           DMCP       Under 72        ORSA         NDS          Acceptable                         7/1/2016   Acceptable                                          Acceptable                Acceptable                                                              Acceptable       No
PENNISD           PENNINGTON COUNTY JAIL (SOUTH DAKOTA)           307 SAINT JOSEPH STREET                                                        RAPID CITY                    PENNINGTON                  SD               57701   USMS IGA      USMS IGA          Male                    A, B, C, D                    5                         0            0            0            0            0            0            0            0          1   COUNTY (SHERIFF)       COUNTY                 7/8/1996                     $75.00                                                                           DMCP       Over 7




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YAVCVAZ   YAVAPAI COUNTY DETENTION CENTER               2830 COMMONWEALTH DR #105    CAMP VERDE     YAVAPAI         AZ   86322   IGSA       IGSA       Female/Male   A, B, C, D   AS NEEDED
                                                                                                                                                                                                   Case 3:17-cv-05769-RJB Document 45-2 Filed 03/23/18 Page 5 of 5
                                                                                                                                                                                                    0   0   0    0     0     1    2    5    8   COUNTY (SHERIFF)            COUNTY                      5/21/2001                          $59.50                                                                          DMCP   Under 72   ORSA      NDS          Acceptable        7/7/2016   Acceptable   Acceptable       Acceptable       Acceptable                          Acceptable       Acceptable       No
HAILEID   DALE G. HAILE DETENTION CENTER                1115 ALBANY                  CALDWELL       CANYON          ID   83605   IGSA       IGSA       Male          A, B, C, D   AS NEEDED         0   0   0    0     0     1    0    2    3   COUNTY (SHERIFF)            COUNTY                      2/25/1992                          $54.00                                                                          DMCP   Over 72    ORSA      NDS          Acceptable        8/4/2016   Acceptable                    Acceptable       Acceptable                          Acceptable       Superior         No
SANJAIL   SANGAMON COUNTY JAIL                          1 SHERIFFS PLAZA             SPRINGFIELD    SANGAMON        IL   62701   USMS IGA   USMS IGA   Male          A, B, C, D               10    0   0   0    0     1     1    1    0    0   COUNTY (SHERIFF)            COUNTY                      8/11/1986                          $53.50                                                                          DMCP   Under 72   ORSA      NDS          Acceptable       6/21/2016   Acceptable   Acceptable       Acceptable       Acceptable                          Acceptable       Superior         No
PWILLVA   PRINCE WILLIAM COUNTY CORRECTIONAL FACILITY   9320 LEE AVENUE              MANASSAS       MANASSAS CITY   VA   20110   USMS IGA   USMS IGA   Female/Male   A, B, C, D   AS NEEDED         0   0   0    0     0     0    0    0    0   COUNTY (CORRECTIONS)        COUNTY                      7/27/1983                          $84.63                                                                          DMCP   Under 72   ORSA      NDS          Acceptable       9/22/2016   Acceptable                    Acceptable       Acceptable                          Acceptable       Superior         No
GARVIOK   GARVIN COUNTY DETENTION CENTER                201 WEST GRANT AVENUE        PAULS VALLEY   GARVIN          OK   73075   IGSA       IGSA       Male          A, B, C, D   AS NEEDED         0   0   1    1     2     4    5    7    6   COUNTY (SHERIFF)            COUNTY                       1/1/2009                          $43.50                                                                          DMCP   Under 72   ORSA      NDS          Acceptable       7/15/2016   Acceptable   Acceptable       Acceptable       Acceptable                          Acceptable       Acceptable       No
WVNORTH   NORTHERN REGIONAL JAIL                        RD #2                        MOUNDSVILLE    MARSHALL        WV   26041   USMS IGA   USMS IGA   Male          A, B, C, D              5      0   0   0    0     0     0    0    0    0   COUNTY (CORRECTIONS)        RJA                         9/14/1990                6/30/2018 $65.00                                                                          DMCP   Under 72   ORSA      NDS          Acceptable       7/19/2016   Acceptable   Acceptable       Acceptable                                           Acceptable       Superior         No
CCADCAZ   CCA CENTRAL ARIZONA DETENTION CENTER          1155 NORTH PINAL PARKWAY     FLORENCE       PINAL           AZ   85132   USMS IGA   USMS IGA   Male          A, B, C, D            230      0   0   0   32   112   178   72   71   74   CCA                         CCA                         10/1/2008                9/30/2029 $105.17                                                                         DMCP   Over 72    Regular   PBNDS 2008   Meets Standard   10/1/2015                Meets Standard   Meets Standard   Meets Standard   Meets Standard     Meets Standard   Meets Standard   No
FAICOVA   FAIRFAX COUNTY ADULT DETENTION CENTER         10520 JUDICIAL DRIVE         FAIRFAX        FAIRFAX CITY    VA   22030   USMS IGA   USMS IGA   Female/Male   A, B, C, D   AS NEEDED         0   0   0    0     0     0    0    0    0   COUNTY (SHERIFF)            COUNTY                      7/17/1983                          $109.58                                                                         DMCP   Under 72   ORSA      NDS          Acceptable       9/22/2016   Acceptable                                                                         Acceptable       Acceptable       No
NORFOMA   NORFOLK COUNTY JAIL                           200 WEST STREET              DEDHAM         NORFOLK         MA   02026   USMS IGA   USMS IGA   Female/Male   A, B, C, D             50      0   0   0    1     6    18   25   41   40   COUNTY (SHERIFF)            COUNTY                       3/1/2001                          $95.00                                                                          DMCP   Over 72    ORSA      NDS          Acceptable       9/23/2016   Acceptable   Acceptable                        Acceptable                          Acceptable       Superior         No
SCRUZAZ   SANTA CRUZ COUNTY JAIL                        1250 NORTH HOHOKAM DRIVE     NOGALES        SANTA CRUZ      AZ   85621   USMS IGA   USMS IGA   Female/Male   A, B, C, D   AS NEEDED         0   0   0    0     0     0    0    0    0   COUNTY (SHERIFF)            COUNTY                       9/1/1990                          $65.00                                                                          DMCP   Under 72   ORSA      NDS          Acceptable        8/5/2016   Acceptable   Acceptable       Acceptable       Acceptable                                           Superior         No
TAYLOTX   TAYLOR COUNTY ADULT DETENTION FACILITY        910 SOUTH 27TH STREET        ABILENE        TAYLOR          TX   79602   IGSA       IGSA       Female/Male   A, B, C, D   AS NEEDED         0   0   0    0     0     0    0    0    0   COUNTY                      COUNTY                                                         $32.50                                                                          DMCP   Under 72   Regular   NDS          Good             8/14/2008                                                                                                                        No
TITUSTX   TITUS COUNTY JAIL                             304 SOUTH VAN BUREN AVENUE   MT. PLEASANT   TITUS           TX   75455   USMS IGA   USMS IGA   Female/Male   A, B, C, D             10      0   0   0    0     0     0    0    0    0   COUNTY (SHERIFF)            COUNTY                                                         $45.00                                                                          DMCP   Under 72   ORSA      NDS          Acceptable        8/8/2016   Acceptable   Acceptable                                                                                              No
BEAVRPA   BEAVER COUNTY JAIL                            6000 WOODLAWN BOULEVARD      ALIQUIPPA      BEAVER          PA   15001   USMS IGA   USMS IGA   Female/Male   A, B, C, D   AS NEEDED         0   0   0    0     0     0    0    0    0   COUNTY (SHERIFF)            COUNTY                      7/29/2002                          $48.00                                                                          DMCP   Over 72    N/A                                                                                                                                                                      No




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                        Printed 3/23/2018                                                                                                                                                                                                   This document is UNCLASSIFIED//FOR OFFICIAL USE ONLY (U//FOUO). It contains information that may be exempt from public release under the Freedom of Information Act (5 U.S.C. 522)
